Case: 4:17-cv-02455-CDP Doc. #: 199 Filed: 04/29/21 Page: 1 of 1 PageID #: 4285




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

MALEEHA AHMAD, et al.,                     )
                                           )
            Plaintiffs,                    )
                                           )
      vs.                                  )         Case No. 4:17 CV 2455 CDP
                                           )
CITY OF ST. LOUIS, MISSOURI,               )
                                           )
            Defendant.                     )

                  MEMORANDUM AND ORDER LIFTING STAY

      Having reviewed the opinion of the Eighth Circuit Court of Appeals issued

on April 27, 2021 and upon motion of plaintiffs, the Court concludes that the stay

of proceedings should be lifted and this case should proceed to trial forthwith.

      Accordingly,

      IT IS HEREBY ORDERED that plaintiffs’ motion to lift stay [197] is

granted, and not later than May 14, 2021, the parties shall file a joint memorandum

setting out mutually agreeable dates for the trial of this matter. The joint

memorandum shall include an estimate of how many days this case will require for

trial and any other matters for the Court’s consideration.




                                        CATHERINE D. PERRY
                                        UNITED STATES DISTRICT JUDGE
Dated this 29th day of April, 2021.
